Case No. 1:49-cv-02782-MSK-CBS             Document 398-2         filed 12/09/16     USDC Colorado
                                            pg 1 of 46

                                            EXHIBIT 1
                                           (07-14-2014)
                                         Blue River Decree


                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

                             Civil Action No.: 49-cv-02782-MSK-CBS

                      Consolidated Civil Case Nos. 2782, 5016 and 5017 and

          DISTRICT COURT, WATER DIVISION NO. 5 STATE OF COLORADO
                               Case No. 2006CW255
 _____________________________________________________________________________

      FINDINGS OF FACT, CONCLUSIONS OF LAW, JUDGMENT and DECREE
 _____________________________________________________________________________

 CONCERNING THE APPLICATION FOR WATER RIGHTS OF THE CITY AND COUNTY
 OF DENVER, ACTING BY AND THROUGH ITS BOARD OF WATER COMMISSIONERS,
 IN SUMMIT COUNTY
 _____________________________________________________________________________

        THIS MATTER comes before the court upon the December 26, 2006 application of the

 City and County of Denver, acting by and through its Board of Water Commissioners (the

 “Applicant”) for finding of reasonable diligence and to make absolute a conditional water right

 (“Application”). Having reviewed and considered the pleadings, documentary and other

 evidence, the stipulation of the Parties, and the Parties’ proposed consent decree, the court finds,

 determines and declares the following:

                                   I.      FINDINGS OF FACT

                                    A.      GENERAL MATTERS

        1.      Applicant:

                City and County of Denver, acting by and through its Board of Water

                Commissioners

                1600 W. 12th Avenue
Case No. 1:49-cv-02782-MSK-CBS              Document 398-2          filed 12/09/16      USDC Colorado
                                             pg 2 of 46
                                              Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                  Findings of Fact, Conclusions of Law, Judgment and Decree




                Denver, Colorado 80204

                303-628-6460

        The Applicant is a home rule municipal corporation of the State of Colorado. The Applicant

 derives its authority and power to operate a water supply system under the state constitution, the

 Denver City Charter and provisions of state law. Pursuant to the Denver City Charter, the Applicant

 provides all treated and raw water necessary for the full development of land within the City and

 County of Denver. Pursuant to perpetual water service agreements, the Applicant serves as the

 water utility for other governmental entities outside the City and County of Denver, but within

 Applicant’s Service Area depicted in Exhibit A (“Applicant’s Service Area” or “Service Area”),

 providing all treated and raw water necessary to serve the full development of all land within the

 Service Area. The Applicant also has commitments to provide nearly 68,000 acre-feet of treated

 and raw water to customers outside its Service Area under perpetual fixed amount contracts listed in

 Exhibit B (“Applicant’s Fixed Contractual Commitments”). The entities receiving water under

 fixed amount contracts are all located within the Counties of Adams, Arapahoe, Douglas and

 Jefferson and the City and County of Broomfield. From time to time, the Applicant provides treated

 and raw water to customers under temporary arrangements.

        The Applicant operates an extensive raw water collection system including the South

 Platte Collection System, the Roberts Tunnel Collection System 1 and the Moffat Tunnel

 Collection System. On the South Platte, the Applicant typically stores water at Antero, Eleven



 1
  As decreed in Civil Action Nos. 1805 and 1806, Summit County District Court, the Blue River
 Diversion Project includes direct use and storage in Dillon Reservoir.



                                              2
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2          filed 12/09/16      USDC Colorado
                                           pg 3 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




 Mile, Cheesman, and Chatfield reservoirs for delivery or exchange of water to either the Strontia

 Springs Diversion Facility or Conduit 20 intakes in Waterton Canyon. In the future, Applicant

 has plans to divert South Platte water and reusable return flows at its downstream storage

 facilities currently in place and under development for exchange and use to meet its water supply

 obligations; and to provide reusable return flows for use by others outside the Service Area in

 accordance with Article I and Article II of an agreement between Denver and a number of West

 Slope entities effective September 26, 2013 (the Colorado River Cooperative Agreement aka

 “CRCA”). The Applicant stores and diverts water from the Blue River, Ten Mile Creek and the

 Snake River and their tributaries at Dillon Reservoir and delivers this water through the Roberts

 Tunnel to the North Fork of the South Platte River above Strontia Springs for immediate use and

 storage, including storage by exchange in Antero, Eleven Mile and Cheesman Reservoirs, and

 through direct delivery for storage in downstream storage facilities such as Chatfield Reservoir

 and the Applicant’s downstream storage facilities. The Applicant also collects water from the

 Fraser and Williams Fork Rivers and South Boulder Creek for storage in Gross and Ralston

 Reservoirs. This water is delivered from Ralston Reservoir to the Moffat Treatment Plant for

 treatment and distribution or delivered to raw water customers.

        Applicant also provides water stored under the Blue River Diversion Project water rights

 to users on the West Slope under the agreements described in this paragraph (collectively, “West

 Slope Agreements”), some of which have been incorporated into or are referenced in subsequent

 water court decrees. Under an Agreement between Summit County Board of Commissioners

 and the Applicant, dated September 19, 1985, Applicant provides 400 acre feet per year of water

 from Dillon Reservoir and allows up to 3,100 acre feet to be exchanged through Dillon


                                             3
Case No. 1:49-cv-02782-MSK-CBS             Document 398-2          filed 12/09/16      USDC Colorado
                                            pg 4 of 46
                                             Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                 Findings of Fact, Conclusions of Law, Judgment and Decree




 Reservoir. Under the Clinton Reservoir - Fraser River Water Agreement, dated July 21, 1992, as

 amended, Applicant provides 351 acre feet per year of Future Dillon water from Dillon

 Reservoir; bypasses annually from its Fraser River Diversion Project 920 acre feet of water

 converted from 1985 Summit County Agreement water; operates its Blue River Diversion

 Project water rights to allow Clinton Reservoir to store up to 3,650 acre feet per year; and

 augments by exchange from Williams Fork Reservoir snowmaking diversions up to 6,000 acre

 feet. In the CRCA, Applicant has agreed to provide an additional 1,743 acre feet/year of water

 from the Blue River Diversion Project, and its tributaries to users in Summit County; and has

 also agreed to operate its Blue River Diversion Project water rights to allow Clinton Reservoir to

 store up to 1,301 acre-feet per year of additional water associated with the dead storage pool and

 a spillway enlargement. Under the proposed Green Mountain Reservoir Administration

 Protocol, Applicant has also acknowledged that up to 80 acre feet of annual depletions may

 occur above Dillon Reservoir by beneficiaries of Senate Document 80 that do not benefit from

 the 1985 Summit County agreement or 1992 Clinton Reservoir - Fraser River Water Agreement.

 The West Slope Agreements include agreements between the Applicant and individual water

 users that implement the foregoing expressly identified agreements.

        2.      Previous Proceedings. The conditional water rights to the Blue River Diversion

 Project and Dillon Reservoir were originally decreed in Civil Action Nos. 1805 and 1806,

 Summit County District Court, on March 10, 1952. After appeal to the Colorado Supreme

 Court, Case Nos. 1805 and 1806 were remanded for further proceedings. In 1955, Case Nos.

 1805 and 1806 were removed to the United States District Court for the District of Colorado

 where they were consolidated with Case No. 2782, and renumbered Case Nos. 5016 and


                                             4
Case No. 1:49-cv-02782-MSK-CBS             Document 398-2          filed 12/09/16      USDC Colorado
                                            pg 5 of 46
                                             Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                 Findings of Fact, Conclusions of Law, Judgment and Decree




 5017. On October 5,1955, the parties to C.A. 2782, 5016 and 5017 entered into a stipulation

 which formed the basis for the Final Decree, which was entered by the court on October 12,

 1955 (the 1955 Stipulation and Final Decree are referred to jointly herein as the “Blue River

 Stipulation and Decree”). Since 1955, the United States District Court has entered various

 orders, judgments and decrees including determinations on the Applicant’s previous

 applications for diligence and to make absolute, which have been adopted and incorporated

 into the Blue River Decree.

        3.      The Application and Amended Applications. On December 26, 2006, the

 Applicant filed an application for finding of reasonable diligence and to make absolute in Case

 No. 2006CW255 and in the Consolidated Cases C.A. Nos. 2782, 5016 and 5017. On January

 26, 2009, the Applicant filed a motion for leave to file an amended application for finding of

 reasonable diligence and to make absolute a conditional water right and Applicant’s initial

 statement of affirmative defenses. The Applicant’s motion to amend was granted on May 5,

 2009. On October 31, 2013, the Applicant filed an unopposed motion for leave to file a second

 amended application, with a proposed stipulated decree, and a supplemental resume notice.

 That motion was granted on ____, 2013.

        4.      Jurisdiction. The court has subject matter jurisdiction over the Application and

 this proceeding, and personal jurisdiction over all persons who would have standing to appear as

 parties, regardless of whether they have appeared. When the Blue River Decree was entered on

 October 12, 1955, this court retained jurisdiction to effectuate the objectives of the Blue River

 Decree and over matters that could modify or interfere with the terms of the Blue River Decree.

 Final Decree, C.A. Nos. 2782, 5016 and 5017 at 17 (Oct. 12, 1955), as amended by


                                             5
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2           filed 12/09/16      USDC Colorado
                                           pg 6 of 46
                                             Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                 Findings of Fact, Conclusions of Law, Judgment and Decree




 Supplemental Order Dismissing Reserved Question and Amending Decree dated October 29,

 1957; City of Grand Junction v. Denver, 960 P.2d 675, 682-685 (Colo. 1998). On August 4,

 1977, the court further ordered that it “will act as the Water Judge provided for by the [Water

 Right Determination and Administration Act of 1969] for Water Division No. 5 insofar as

 proceedings in connection with cases numbered 5016 and 5017 are concerned.” Order

 Regarding Further Proceedings Consonant with the Colorado Water Right Determination and

 Administration Act of 1969, C.A. Nos. 2782, 5016 and 5017 at ¶1 (D. Colo. August 4, 1977)

 (“1977 Order”). In addition, the court has jurisdiction in this matter under the court’s December

 4, 2000 Findings of Fact, Conclusions of Law, Judgment and Decree, which provides that

 “[p]ursuant to § 37-92-301(4), 10 C.R.S. (1999), the Applicant shall file an Application for

 Finding of Reasonable Diligence on or before the last day of December, 2006 so long as the

 Applicant desires to maintain these conditionally decreed water rights, or until a determination

 has been made that these conditionally decreed water rights have become absolute water rights

 by reason of the completion of the appropriation.” Decree, Case No. 99CW044 at 18 (Dec. 14,

 2000).

          5.    Notice. Notice of the Application was provided in the January, 2007 water

 resume, the Summit County Journal on January 26, 2007, the Glenwood Springs Post

 Independent on January 30, 2007, and the Grand Junction Daily Sentinel on January 27, 2007.

 The application was adequate to provide the inquiry notice required by law, C.R.S. § 37-92-302

 (2006). Supplemental notice of the second amended application was provided in the _______

 water resume, the Summit County Journal on _______________, the Glenwood Springs Post

 Independent on _________________, and the Grand Junction Daily Sentinel on


                                             6
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2          filed 12/09/16      USDC Colorado
                                           pg 7 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




 ______________. Timely and adequate notice of the application, the amended application, and

 the second amended application was given in the manner required by law.

        6.      Summary of Consultation. The Division Engineer for Water Division No. 5

 prepared a summary of consultation dated May 10, 2007 regarding the original Application.

 Applicant served the Summary of Consultation on all parties on June 11, 2007. On May 9, 2014,

 the Division Engineer for Water Division No. 5 prepared a report to the second amended

 application filed on February 17, 2014. The Summary of Consultation was served on all parties

 on May 12, 2014. Paragraph 28 of the decree was added to address the concerns of the Division

 Engineer.

        7.      Not within a Designated Ground Water Basin. The water rights that are the

 subject of this Decree are not included within the boundaries of a designated groundwater basin.

        8.      Opposers. The following Opposers filed timely statements of opposition:

 Colorado River Water Conservation District (“River District”); Town of Frisco (“Frisco”);

 Grand Valley Water Users Association (“GVWUA”); Palisade Irrigation District (“Palisade”);

 Ute Water Conservancy District (“Ute Water”); Orchard Mesa Irrigation District (“OMID”);

 Grand Valley Irrigation Company (“GVIC”); Middle Park Water Conservancy District (“Middle

 Park”) and Climax Molybdenum Company (“Climax”). Northern Colorado Water Conservancy

 District filed a late statement of opposition pursuant to a motion to intervene which was granted

 on February 22, 2010. On ___, the United States Bureau of Reclamation and the Colorado State

 Engineer filed statements of opposition. The time for filing statements of opposition to the

 Applicant’s application, as amended, has expired.




                                            7
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2           filed 12/09/16      USDC Colorado
                                           pg 8 of 46
                                             Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                 Findings of Fact, Conclusions of Law, Judgment and Decree




        9.      Withdrawals of Statements of Opposition. The Town of Frisco withdrew its

 Statement of Opposition on February 21, 2008.

        10.     Stipulations. The Colorado River Water Conservation District, Grand Valley

 Water Users Association, Orchard Mesa Irrigation District, Grand Valley Irrigation Company,

 Palisade Irrigation District, Ute Water Conservancy District, and the Middle Park Water

 Conservancy District (“West Slope Objectors”) have entered into a stipulation with the

 Applicant, dated __________ (the “West Slope Stipulation”).        The CRCA is the basis upon

 which the West Slope Objectors have entered the West Slope Stipulation and provided their

 consent to these Findings of Fact, Conclusions of Law, and Judgment and Decree.

                         B.       THE BLUE RIVER DIVERSION PROJECT

         11.     Description of Underlying Decrees. The Blue River Diversion Project was

  decreed in Case Nos. 1805 and 1806 in the District Court in the County of Summit on March

  10, 1952, with a priority date of June 24, 1946. After appeal to the Colorado Supreme Court,

  Case Nos. 1805 and 1806 were remanded for further proceedings. Thereafter the cases were

  removed to this court and given Civil Action Nos. 5016 and 5017 to correspond to Summit

  County District Court Nos. 1805 and 1806. In this court, the cases were consolidated with

  already pending Civil Case No. 2782. On October 12, 1955, the Summit County District Court

  Decrees of March 10, 1952, in Case Nos. 1805 and 1806 were incorporated in and confirmed

  by Findings of Fact, Conclusions of Law and the Judgment and Decree entered by this court in

  the consolidated cases, Civil Action Nos. 2782, 5016 and 5017, insofar as those decrees

  described the rights to the use of water adjudicated to Applicant.




                                             8
Case No. 1:49-cv-02782-MSK-CBS             Document 398-2             filed 12/09/16      USDC Colorado
                                            pg 9 of 46
                                                Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                    Findings of Fact, Conclusions of Law, Judgment and Decree




         12.    Court. District Court for the County of Summit and the United States District

  Court in and for the District of Colorado.

        13.     Location. The Blue River Diversion Project stores water in Dillon Reservoir and

  diverts water from the Blue River, the Snake River, and Ten Mile Creek and their tributaries

  through the Harold D. Roberts Tunnel, the west portal of which is located at a point whence the

  East quarter corner of Section 18, Township 5 South, Range 77 West of the 6th P.M. bears

  South 81°07’ East 941.6 feet.

        14.     Source. The sources of water for the Blue River Diversion Project are the Blue

  River, the Snake River, and Ten Mile Creek, all of which are tributaries of the Colorado River;

  and the waters naturally tributary thereto.

        15.    Appropriation Date: June 24, 1946. The Blue River Diversion Project was decreed

  conditional priorities 139(c) and 366(c) for 788 cubic feet per second from the Blue River;

  conditional priorities 140(c) and 367(c) for 788 cubic feet per second from the Ten Mile Creek;

  and conditional priorities 141(c) and 368(c) for 788 cubic feet per second from the Snake River

  providing no more than 788 cubic feet per second shall be taken through any combination of the

  above described sources.      In addition, Dillon Reservoir was decreed conditional reservoir

  priorities 80(c) and 8(c) for 252,678 acre feet.

        16.      Physical Works. This court has previously determined in 1978 that the physical

  works necessary for diversion and storage pursuant to the water rights referred to above have

  been completed by the Applicant. The as-constructed capacity of Dillon Reservoir is 254,036

  acre feet of water and the as-constructed capacity of the Blue River Diversion Project (Roberts




                                                9
Case No. 1:49-cv-02782-MSK-CBS             Document 398-2         filed 12/09/16      USDC Colorado
                                            pg 10 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




  Tunnel) is in excess of 1000 cubic feet of water per second of time. Decree and Determination,

  Case No. W-741-77 at 2, ¶ 6 (Sept. 15, 1978).

        17.      Amounts Made Absolute in Prior Proceedings and Amounts Remaining

  Conditional.   This court has previously made absolute amounts of water stored in Dillon

  Reservoir and diverted through the Roberts Tunnel and therefore has as a matter of law

  determined that such amounts were placed to lawful beneficial use in accordance with the

  requirements of the Blue River Decree.

                 (a)   Dillon Reservoir. In 1978, the Dillon Reservoir storage right was made

        absolute for all beneficial uses authorized in the decrees entered in Case Nos. 1805 and

        1806 in the amount of 252,678 acre feet pursuant to this court’s September 15, 1978

        Decree and Determination. Decree and Determination, Consolidated Civil Nos. 2782,

        5016 and 5017 and Case No. W-741-77, Water Division No. 5 at ¶ 8 (D. Colo. Sept. 15,

        1978).

                 (b)   Roberts (Montezuma) Tunnel. In 1993, this court ordered and decreed

        that 520 cfs of the Roberts Tunnel direct flow right had been made absolute and placed to

        beneficial use in the Denver Municipal Water System in the court’s March 11, 1993

        Findings of Fact, Conclusions of Law, Decree and Order. Consolidated Civil Nos. 2782,

        5016 and 5017 and Case No. 1990CW112, Water Division No. 5. As of the court’s

        March 11, 1993 Decree, 268 cfs of the Roberts Tunnel direct flow water right remained

        conditional:

                       520 cfs       absolute
                       268 cfs       conditional
                       788 cfs       total


                                            10
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2           filed 12/09/16      USDC Colorado
                                          pg 11 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




         18.   Use. All municipal uses including domestic use, mechanical use, manufacturing

  use, fire protection, street sprinkling, watering of parks, lawns and grounds. The water rights

  which are the subject of this Application are those direct flow water rights appropriated for

  immediate use through the Roberts Tunnel with an appropriation date of June 24, 1946, for a

  total rate of flow of 788 cfs. The Roberts Tunnel has been completed so as to be able to carry

  water to its decreed capacity of 788 cfs, provided that improvements are made to the tunnel’s

  outlet works as described subsequently in this decree. The water provided by Applicant under

  the West Slope Agreements, in the volumes described in paragraph 1, is fully consumable

  water from the Blue River and its tributaries that may be used by West Slope water users on

  the West Slope pursuant to those Agreements for municipal, domestic, irrigation, industrial,

  recreation, piscatorial, snowmaking, wastewater treatment, augmentation, and exchange uses,

  including reuse and successive use to extinction in Summit County; provided that prior to the

  reuse or successive use of such water, the plan for such reuse and/or successive use shall be

  incorporated into an approved water court decree or substitute supply plan.

                               C.     CLAIM TO MAKE ABSOLUTE

        The court finds that on June 23, 2006, the Applicant legally diverted and put to beneficial

 use 654 cfs of water under the Roberts Tunnel direct flow right, in compliance with the Water

 Rights Determination and Administration Act of 1969, C.R.S. §§ 37-92-101 – 37-92-602 (the

 “1969 Act”) and the Blue River Stipulation and Decree.

        19.    654 cfs Made Absolute.       On June 23, 2006, the Applicant diverted 654 cfs

 through the Roberts Tunnel and subsequently placed the water to beneficial use to customers

 within the geographic area depicted in Exhibit A and to fixed amount customers set forth in


                                            11
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2           filed 12/09/16      USDC Colorado
                                          pg 12 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




 Exhibit B. On June 23, 2006 at approximately 12:30 p.m. a peak discharge of 654 cfs was

 recorded at the gage located at the East Portal of the Roberts Tunnel. The water conveyed

 through the Roberts Tunnel on June 23, less stream carriage losses of 5 percent assessed by the

 Division Engineer, was delivered to Strontia Springs Reservoir. From Strontia Springs Reservoir

 a portion of the water was conveyed to the Foothills Water Treatment Plant where the water

 underwent treatment for distribution. The remaining portion of Roberts Tunnel water was

 delivered to Marston Reservoir where it was temporarily stored and eventually treated at the

 Applicant’s Marston Treatment Plant for distribution to and beneficial use by the Applicant’s

 customers. The water diverted through the Roberts Tunnel was used in Applicant’s Service Area

 and to supply Applicant’s Fixed Contractual Commitments for municipal purposes either directly

 or by augmentation, exchange and replacement.

        20.    Point of Diversion.

                       (a)    On June 23, 2006, the Applicant diverted the Roberts Tunnel direct

        flow right through the West Portal of the Roberts Tunnel. The Applicant accomplished

        this diversion by means of the West Portal of the Roberts Tunnel. Although the decree

        entered by the Summit County District Court in C.A. 1805 and 1806 (“Summit County

        Decree”) lists specific points of direct flow diversion on the Snake, Blue and Ten Mile

        Rivers, the Summit County Decree also contemplates that Dillon Reservoir would

        inundate the listed points of diversion and that the West Portal would eventually become

        the point of diversion for the Dillon Reservoir storage right and the Roberts Tunnel direct

        flow right.




                                            12
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 13 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




                      (b)    The Applicant’s original plan and intent in 1927 was to divert the

       Roberts Tunnel direct flow right by means of the three listed points of diversion on the

       streams, but only until Dillon Reservoir could be constructed, at which point the

       Applicant intended to utilize the West Portal as the primary point of diversion for the

       Blue River Diversion Project. When the Applicant filed its Statement of Claim for the

       Blue River Diversion Project in 1942, the Applicant intended to construct the Blue River

       Diversion Project in two stages. The first stage involved the construction of a system of

       feeder ditches and canals that would allow the Applicant to divert its direct flow right

       into Roberts Tunnel until Dillon Reservoir could be completed.              The second stage

       involved the construction of Dillon Reservoir, which upon its construction, would

       inundate the feeder ditches and canals. Statement of Claim, C.A. 1805 and 1806 at ¶4

       (County of Summit Nov. 16, 1942). When the Applicant solicited bids for the

       construction of the Blue River Diversion Project in 1959, the Applicant received a bid

       that allowed for the construction of Dillon Reservoir in a single stage, eliminating the

       need to construct the system of feeder ditches and canals. Thus, when the Applicant built

       Dillon Reservoir, the West Portal of the Roberts Tunnel became the controlling point of

       diversion for the Roberts Tunnel direct flow right.

                      (c).   The three described points of diversion were based upon the

       Applicant’s Exhibit B in C.A. 1805 and 1806 which was offered in support of a 1927

       priority.

                      (d)    The trial court rejected the Applicant’s claim for a 1927 priority.

       Rather the trial court awarded the Applicant a 1946 priority based upon work commenced


                                           13
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 14 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




       in 1946 for Dillon Reservoir and the single point of diversion depicted on a 1942 filing

       map offered as Exhibit D and a report dated February 16, 1946 (Denver Exhibit T).

                      (e)    The 1946 priority confirmed by the Supreme Court contemplated

       the Dillon Reservoir configuration and the single point of diversion at the West Portal.

       No mandate was issued to conform the decree to the configuration based upon the 1946

       priority.

                      (f)    The Applicant has engaged in a course of conduct whereby it has

       diverted its direct right through the West Portal of the Roberts Tunnel under a 1946

       priority since the tunnel went into operation on July 17, 1964.

                      (g)    This court has previously decreed the West Portal of the Roberts

       Tunnel as the primary point of diversion for the Roberts Tunnel direct flow right in the

       Blue River Decree itself and in the subsequent decrees entering amounts made absolute.

       Findings of Fact and Conclusions of Law and Final Decree, Civil Action Nos. 2782,

       5016, and 5017 at 43, ¶ 19 (D. Colo. Oct. 12, 1955); Finding and Order Concerning Due

       Diligence of the City and County of Denver, Civil Action Nos. 2782, 5016 and 5017 at 2

       (D. Colo. Apr. 6, 1964); Supplemental Finding and Decree of 1966 for the City and

       County of Denver, Civil Action Nos. 2782, 5016 and 5017 at 2 (D. Colo. Feb. 6, 1966);

       Decree and Determination, Civil Action Nos. 2782, 5016 and 5017 (W-741-77) at 2, ¶4

       (D. Colo. Sept. 15, 1978); Findings of Fact, Conclusions of Law, Decree and Order, Civil

       Action Nos. 2782, 5016 and 5017 (82CW129 WD5) at ¶ 6(b) (D. Colo. Oct. 3, 1985);

       Findings of Fact, Conclusions of Law, Decree and Order, Civil Action Nos. 2782, 5016

       and 5017 (86CW132 WD5) at ¶ 6(b) (D. Colo. June 2, 1987); Findings of Fact,


                                           14
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2          filed 12/09/16      USDC Colorado
                                           pg 15 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




        Conclusions of Law, Decree and Order, Civil Action Nos. 2782, 5016 and 5017

        (90CW112 WD5) at ¶ 5(b) (D. Colo. Mar. 11, 1993).

                       (h)     For the above stated reasons, the court finds that the West Portal of

        the Roberts Tunnel is the primary point of diversion for the Roberts Tunnel direct flow

        right under the 1946 priority.

        21.    Green Mountain Reservoir Not Impaired.               The Applicant complied with

 Paragraphs 4(a) of the Blue River Stipulation and Decree, Paragraph 4 of the April 16, 1964

 Stipulation, and Paragraphs 2, 3 and 4 of the Supplemental Judgment and Decree of February 9,

 1978, when the Applicant diverted 654 cfs under the Roberts Tunnel direct flow right on June

 23, 2006. Green Mountain Reservoir had already achieved its annual fill prior to the Applicant’s

 diversions under its Roberts Tunnel direct flow right on June 23, 2006.              The Applicant’s

 diversions on June 23, 2006 therefore did not impair the ability of Green Mountain Reservoir to

 fulfill its function as set forth in the Manner of Operation of Project Facilities and Auxiliary

 Features, contained in Senate Document No. 80, 75th Congress, 1st Session.

        22.    Payment for Power Interference.

               (a)     Paragraph 4(b) of the Blue River Stipulation and Decree requires that the

        Applicant deliver electric energy to the United States in substantially the same amounts,

        at approximately the same hours and at substantially the same rates of delivery that would

        have been generated by the Green Mountain Power Plant had it not been for the

        diversions of the waters by the Applicant and under the West Slope Agreements.

               (b)     The power loss to Green Mountain Reservoir caused when the Applicant

        and users under the West Slope Agreements divert water from the Blue River is termed


                                            15
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2          filed 12/09/16      USDC Colorado
                                         pg 16 of 46
                                          Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                              Findings of Fact, Conclusions of Law, Judgment and Decree




       power interference. The Applicant currently repays this power interference through two

       agreements with the Western Area Power Administration (“WAPA”), an agency of the

       United States Department of Energy.

              (c)    Under a September 30, 1987 contract with WAPA, the Applicant

       purchases firm electric service generated by WAPA (Contract No. 87-LAO-110) in order

       to offset power interference caused to Green Mountain Reservoir by storage at Dillon

       Reservoir. Under this agreement, the Applicant purchases approximately 7 gigawatt

       hours of energy per year.

              (d)    The Applicant also entered into a September 21, 1990 Interchange

       Agreement with WAPA to bank surplus power with WAPA until the power is required

       by the Applicant to pay off its interference obligations (89-LAO-512). The Interchange

       Agreement allows the Applicant to deposit and withdraw power in order to pay back its

       power interference. Excess power can be banked for later use and any deficit in the

       account can be paid off by the Applicant in cash at WAPA’s “average value of seasonal

       purchases.”

              (e)    The United States Bureau of Reclamation and the Applicant account for

       the power interference on a monthly basis. In order to determine the amount of potential

       power interference, the Applicant accounts for depletions to the Blue River caused by the

       Applicant and by deliveries to water users under the West Slope Agreements. Such

       depletions to the Blue River are accounted for by calculating the change in storage at

       Dillon Reservoir, plus amounts of water diverted through the Roberts Tunnel, plus net

       evaporation, plus depletions made in accordance with the West Slope Agreements that


                                          16
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 17 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




        are not reflected in Dillon Reservoir change in storage. The Applicant and the Bureau

        currently assume that the power interference amount is the equivalent of 210 kilowatt

        hours per acre-foot diverted. Thus, for example, assuming Dillon Reservoir diverts 100

        acre feet, the Applicant owes interference of 21,000 kilowatt hours (100 acre-feet x 210

        kilowatt hours per acre-foot). The computed interference is also distributed into on-peak

        and off-peak hours. Current interference accounting allocates about 56% of the power

        interference to on-peak demand hours, and 44% to off-peak hours.

               (f)    Since the Blue River Decree was entered, the Applicant has acquired

        numerous electrical credits through its Agreements with WAPA and other entities,

        including Public Service Company of Colorado.           The Applicant has also supplied

        electrical power generated by its own hydroelectric facilities. During the most recent

        diligence period, the Applicant paid for its power interference through the energy credits

        purchased from WAPA that were banked through the Interchange Agreement.

               (g)     The court therefore finds, the Applicant has accounted and paid for all

        power interference owed to the Bureau of Reclamation under paragraph 4(b) of the Blue

        River Stipulation and Decree for power interference that occurred during the month of

        June 2006, when the Applicant diverted 654 cfs.

        23.    Place of Use.

               All water provided by Applicant on the East Slope from the Blue River Diversion

 Project is used within the six counties of Denver, Arapahoe, Jefferson, Adams, Broomfield and

 Douglas. In the CRCA, the Applicant agreed to limit the volumes of water it provides and the

 geographic area in which recipients of the water are located. Under the West Slope Agreements,


                                           17
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2           filed 12/09/16      USDC Colorado
                                          pg 18 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




 Applicant has also agreed to provide water under the Blue River Diversion Project to water users

 located in Summit County.

               (a)     Article I of the CRCA defines the areas in which the Applicant may

        provide water on the East Slope as the Service Area depicted in Exhibit A and the areas

        served by the entities listed in Exhibit B under fixed amount contracts. Article I.B of the

        CRCA also provides for the use of water outside of the Service Area under specified

        contracts or other defined limitations. Water provided by Applicant to customers on the

        East Slope in accordance with the limitations of Article I and Article II.A of the CRCA is

        used in the City and County of Denver and areas adjacent to and reasonably integrated

        with the development of the City and County of Denver, which is defined in the Blue

        River Decree as the Denver Metropolitan Area. The Blue River Decree does not require

        that the Applicant own all the pipes or facilities that convey water to individual

        customers.

               (b)     In order to address some of the impacts of its diversions on the West

        Slope, the Applicant has also agreed to provide water either directly or from storage

        under the Blue River Diversion Project to water users in Summit County as described in

        paragraph 1 pursuant to the West Slope Agreements and any decrees that may

        incorporate or rely on one or more of the West Slope Agreements.

 For these reasons, the court finds that the Applicant placed the water diverted under the Roberts

 Tunnel direct flow right in June 2006, to beneficial use within the Denver Metropolitan Area as

 required by Paragraph 4(g) of the Blue River Stipulation. Based on the unique circumstances

 described above, the Applicant’s use of water derived from the Blue River Diversion Project


                                            18
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2           filed 12/09/16      USDC Colorado
                                           pg 19 of 46
                                             Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                 Findings of Fact, Conclusions of Law, Judgment and Decree




 pursuant to the West Slope Agreements to address impacts of its diversion on the West Slope is a

 lawful beneficial use that is not contrary to the terms of the Blue River Stipulation and Decree.

        24.     Type of Use. The court finds that the Applicant complied with Paragraph 4(g) of

 the Blue River Stipulation and Decree by placing the water diverted on June 23, 2006 under the

 Roberts Tunnel direct flow right only to municipal uses. The 654 cfs diverted by the Applicant

 through the Roberts Tunnel was put to beneficial use and all uses for which the water was

 beneficially used constituted municipal uses, including augmentation, exchange and replacement.

 The water was treated at the Foothills and Marston Water Treatment Plants, and distributed

 through its system for potable water use by the Applicant’s customers within the Service Area

 and under potable contracts listed in Exhibit B. The Applicant also supplies nonpotable water

 for municipal use to customers located within the Service Area pursuant to the nonpotable water

 contracts listed in Exhibit B. In addition, water is delivered to the Applicant’s customers by

 augmentation, exchange and replacement and used by them for municipal purposes. None of the

 water was delivered for agricultural purposes. The court finds that uses of the water rights

 decreed for the Blue River Diversion Project under the West Slope Agreements for fully

 consumable municipal, domestic, irrigation, industrial, recreation, piscatorial, snowmaking,

 wastewater treatment, augmentation, and exchange uses, including reuse and successive use to

 extinction in Summit County do not violate paragraph 4(g) of the Blue River Stipulation and

 Decree.

        25.     Reuse. The court finds that in diverting the 654 cfs, which the Applicant seeks to

 make absolute, the Applicant complied with the Paragraph 4(e) and (f) of the Blue River

 Stipulation and Decree:


                                             19
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 20 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




              (a)     The Applicant does not need to show that specific molecules of Colorado

       River water were reused to meet its obligations to utilize return flows from the Colorado

       River System by exchange or otherwise under ¶¶ 4(e) and (f) of the Blue River

       Stipulation and Decree. The Applicant has shown that it has complied with the terms and

       conditions in ¶¶ 4 (e) and (f) of the Blue River Stipulation and Decree.

              (b)     The Applicant has constructed, and is in the process of constructing, a

       number of facilities to increase its ability to reuse water from the Colorado River System.

       The Applicant is constructing an estimated total of 30,000 acre feet of gravel pit storage

       to capture additional return flows from the Colorado River System which it is currently

       unable to utilize. The Applicant has constructed a water recycling plant which, at build

       out, will be able to treat 45 million gallons per day of water diverted directly from the

       effluent returning to the South Platte, for non-potable industrial and landscape irrigation

       uses within the Denver Metropolitan Area. In addition, Applicant is in the process of

       adjudicating an application in Water Division 1 to reuse and exchange lawn irrigation

       return flows resulting from reusable water applied to lawns and landscaping. Certain

       obligations regarding Denver’s reuse of water are specified in Articles II(A) and II(C) of

       the CRCA in furtherance of the implementation of the Blue River Decree.

              (c)     During the diligence period and pursuant to paragraph 4(f) of the Blue

       River Stipulation and Decree, the Applicant submitted to the Secretary of the Interior

       annual reports showing by month for the respective water years, the quantities of water

       diverted from the Colorado River System, the extent such water was used directly or

       placed in storage, the quantities of return flow from municipal uses of such Colorado


                                           20
Case No. 1:49-cv-02782-MSK-CBS             Document 398-2           filed 12/09/16      USDC Colorado
                                            pg 21 of 46
                                              Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                  Findings of Fact, Conclusions of Law, Judgment and Decree




        River water accruing to the South Platte River, and the steps, by legal action or otherwise,

        taken during the period covered by the report to utilize such return flow by exchange or

        otherwise. The Secretary accepted the Applicant’s annual reports without any expression

        of disapproval.

                (d)       During the diligence period, the United States did not apply to the court

        for injunctive or other remedial orders pursuant to paragraph 4(f) of the Blue River

        Stipulation and Decree, and the court finds the Applicant made reasonable efforts, in

        view of legal limitations and economic feasibility, in establishing, enforcing, utilizing or

        operating a plan designed to accomplish reduction of its Blue River water use.

                (e)       Further, the Applicant’s plan to provide water derived from Colorado

        River return flows to entities outside the Service Area in accordance with the limitations

        of Article I and Article II of the CRCA comports with paragraphs 4(e) and (f), and

        paragraph 4(g) of the Blue River Stipulation and Decree.

        26.           Reasonable Number of Gauging Stations. The Applicant has developed a

 procedure by which it measures and accounts for its return flows attributable to Colorado River

 sources.   These measurements are reported annually to the Secretary of the Interior.                The

 Applicant utilizes a reasonable number of gauging stations for the purposes of measuring (1) the

 quantities of water actually diverted from the Blue River; and (2) the increased return flow water

 into the South Platte River and other streams by reason of the diversion of its Colorado River

 System. For these reasons, the court finds that the Applicant has complied with paragraph 4(h)

 of the Blue River Stipulation and Decree.




                                              21
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2           filed 12/09/16      USDC Colorado
                                           pg 22 of 46
                                             Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                 Findings of Fact, Conclusions of Law, Judgment and Decree




        27.     Roberts Tunnel Seepage. When diverting water on June 23, 2006 through the

 Roberts Tunnel, the Applicant accounted for ground water seepage in the Roberts Tunnel.

 Ground water seepage in the Roberts Tunnel is administered by the State Engineer as 100

 percent tributary to the Colorado River. Accordingly, when the Applicant diverts water under

 the 1946 priority for the Roberts Tunnel direct flow right, and the right is in priority, the

 Applicant is diverting the ground water in accordance with the prior appropriation system, as

 was the case on June 23, 2006. When the Applicant’s Dillon Reservoir storage right or Roberts

 Tunnel direct flow water right is not in priority, the Applicant accounts for the Roberts Tunnel

 seepage as water depleting the Colorado River. Whether in or out of priority, the Applicant pays

 power interference for all seepage into the Roberts Tunnel pursuant to Paragraph 4(b) of the Blue

 River Stipulation and Decree and provides that water to Green Mountain Reservoir in

 substitution years.

       D.     28.      Summary of amounts claimed and made absolute. The application and

  amendments thereto seek to make 654 cfs absolute, which is the total amount diverted on June

   23, 2006. The court has already made 520 cfs absolute (Case No. 90CW112). Therefore, an

      additional 134 cfs is being made absolute (654 cfs – 520 cfs = 134 cfs) leaving 134 cfs

   conditional of the total 788 cfs decreed (788 cfs – 654 cfs = 134 cfs).CLAIM FOR FINDING OF

                                     REASONABLE DILIGENCE

        The court finds that the Applicant has been reasonably diligent in developing the

 conditional portion of the Roberts Tunnel direct flow right.

        29.    Physical Works. As the court has previously determined, the physical works

 necessary for diversion of the Roberts Tunnel direct flow rights have been completed and the


                                             22
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2            filed 12/09/16      USDC Colorado
                                           pg 23 of 46
                                              Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                  Findings of Fact, Conclusions of Law, Judgment and Decree




 facilities necessary to bring about the application of the water appropriated to beneficial use are

 in a continuous pattern of development and construction. Decree and Determination, Case No.

 W-741-77 at ¶9 (September 15, 1978). Since 1978, the physical works of the Roberts Tunnel

 direct flow right have been continuously maintained and the Applicant is currently capable of

 diverting up to 684 cfs.

        30.     Diligence Activities. The Blue River Diversion Project is an integral part of the

 entire water collection, distribution, treatment and delivery system, designed and constructed to

 provide water for municipal use within the Denver Metropolitan Area. The activities listed in the

 amended application are incorporated herein by this reference. The court finds that the activities

 listed in the amended application are evidence of the Applicant’s continued reasonable diligence

 in developing the conditional portion of the Roberts Tunnel direct flow right. These activities

 evidence the continuous efforts of development and construction of the facilities necessary to

 divert, store and use waters from the Blue River, Snake River and Ten Mile Creek including the

 diversion, storage and use of these waters by water users in Summit County to help mitigate the

 impacts of its diversions on the West Slope.

        31.     Capability. The Applicant is capable of developing the conditional portion of the

 Roberts Tunnel direct flow right.

                (a)     Existing Structure.     The Blue River Diversion Project is an existing

        facility consisting of Dillon Reservoir and the Roberts Tunnel.

                (b)     Water Availability. The Applicant presented a water availability analysis

        showing that water is available in sufficient amounts and frequency so as to allow it to

        divert the remaining conditional portion of its Roberts Tunnel direct flow right. In most


                                              23
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2          filed 12/09/16      USDC Colorado
                                         pg 24 of 46
                                          Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                              Findings of Fact, Conclusions of Law, Judgment and Decree




       years during the Applicant’s 1988-2007 study period, water is available for diversion in

       the amount of 788 cfs by the Roberts Tunnel direct flow right. On average there were

       approximately 13 days per year that an amount equal to or greater than 788 cfs was

       available to the Roberts Tunnel direct flow water right, with 788 cfs of water available a

       maximum of 34 days in 2006. Water was available for diversion at the 788 cfs threshold

       in 17 out of the 20 years during the Applicant’s 1988-2007 study period.

              (c)     Roberts Tunnel Capacity. The tunnel is concrete lined with a diameter of

       10’ 3” with a capacity of 1,000 cfs when the water level in Dillon Reservoir is 9017 feet.

       The outlet works consists of a 90” wye branch off the tunnel. The 90” outlet pipe

       continues approximately 243 feet to a 66” x 42” x 66” trifurcation. The center of the

       trifurcation consists of a 42” butterfly valve with a 36” hollow-jet valve to release the

       water. In 1975, the Applicant installed a 20” cone valve, a 12” Howell-Bunger discharge

       valve and a 20” Howell-Bunger discharge valve. The calculated discharge through the

       current outlet works is approximately 684 cfs. On June 23, 2006, 654 cfs was measured

       discharging from the outlet works.       The outlet works are physically capable of

       accommodating a 78” butterfly valve, 66” piping and a 66” hollow-jet valve in addition

       to the 42” butterfly valve for a potential calculated discharge capacity of approximately

       944 cfs.

              (d)     Power Interference. The Applicant currently holds agreements with the

       Western Area Power Administration (“WAPA”), an agency of the United States

       Department of Energy, to purchase electrical energy from WAPA to pay power

       interference to the Bureau of Reclamation.      The Applicant’s agreement to purchase


                                          24
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2           filed 12/09/16      USDC Colorado
                                          pg 25 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




       electrical energy does not expire until September 30, 2024. The Applicant also has an

       Interchange Agreement with WAPA to “bank” electrical power to use to repay the

       Bureau for power interference. This agreement also is set to expire on September 30,

       2024. Based on these contractual arrangements, the court finds that the Applicant is

       capable of meeting its power interference obligations under the Blue River Decree.

              (e)     North Fork Capacity. The North Fork of the South Platte River below the

       outlet works of the Roberts Tunnel is currently capable of carrying 680 cubic feet per

       second on a sustained basis and 1020 cubic feet per second for short periods of time. The

       Applicant has established design flows, design criteria for channel improvement,

       completed construction of improvements, and continued maintenance of the channel

       which has increased the carrying capacity of the North Fork of the South Platte River to

       an amount in excess of 788 cubic feet per second, in addition to the natural flow, from the

       Roberts Tunnel at Grant downstream to its South Platte River intake.

              (f)     Capacity of South Platte Facilities. The Applicant’s evidence shows that it

       will have the capacity to directly divert and put to beneficial use up to 967 cfs through the

       Foothills Tunnel and Conduit 26 for use at the Foothills Water Treatment Plant and

       through Conduit 20, which diverts water from the South Platte to Marston Reservoir.

       The Applicant is also able to store Blue River water by exchange in Cheesman Reservoir

       under its decree entered into C.A. 3635. Roberts Tunnel water can also be stored directly

       in Strontia Springs Reservoir, Chatfield Reservoir, and the Applicant’s South Platte

       gravel pit reservoirs. In addition, Roberts Tunnel Water can be delivered directly via the

       South Platte River to holders of temporary and long-term contract users.


                                            25
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 26 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




              (g)      Financial ability. The Applicant is the largest municipal water supplier in

       the state, serving nearly one quarter of the state’s population.            The Applicant is

       authorized to issue municipal bonds and generally issues approximately $50 million in

       bonds each year. As of end of the year 2006, its capital assets were valued at $1.6 billion

       and its total operating revenues were over $200 million.            The Applicant annually

       maintains a cash reserve of $150-200 million. Unless some catastrophe occurs in the

       future, the Applicant has and will continue to have the financial ability to store, divert

       and use the water under the Blue River Stipulation and Decree.

              (h)      Two Forks.

                     i.       To date, Two Forks Reservoir has not been constructed.               The

              Applicant can fully utilize its importations from the Blue River with or without

              Two Forks Reservoir by storing the same water in other east slope facilities or by

              direct delivery to Conduit 26 Intake, Conduit 20 Intake, Last Chance Ditch Intake

              and Chatfield Reservoir manifold or pump.

                    ii.       Further, the Applicant currently holds a right of way for Two Forks

              Reservoir. The 1989 veto of Two Forks by EPA did not foreclose the Applicant

              from applying for permits of different size or location.            In June 2003, the

              Applicant entered into the South Platte Protection Plan as an alternative to the

              proposed Wild and Scenic designation. Pursuant to Attachment F of this plan, the

              Applicant agreed to a 20 year moratorium on permit applications to construct Two

              Forks to allow it to pursue alternative projects to develop Two Forks water. The

              Applicant further agreed to relinquish its right of way when development of the


                                           26
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2          filed 12/09/16      USDC Colorado
                                         pg 27 of 46
                                          Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                              Findings of Fact, Conclusions of Law, Judgment and Decree




              Right of Way becomes impractical because alternative development of the Two

              Forks waters has reduced the economic value of the Right of Way below

              meaningful value. To date, alternative projects have not been developed that have

              reduced the economic value of the right of way below meaningful value. Further,

              the Applicant secured a finding of reasonable diligence on September 2, 2005 in

              Case No. 2003CW357 Water Division 1 for the Two Forks Reservoir South Platte

              storage right. The court finds, for purposes of this diligence proceeding, that the

              Applicant has not abandoned the development of Two Forks Reservoir.


              (i)    East Slope Place of Storage. The Applicant is currently physically able to

       store water in Antero, Eleven Mile, Cheesman, Strontia Springs, Chatfield, Platte

       Canyon, Marston, Gross, and Ralston Reservoirs and will in the future be able to store

       water in the downstream gravel lake complexes, which are under construction or will be

       constructed. All of these facilities are part of the Denver Municipal Water System. The

       Applicant is or will be capable of placing Blue River water into all of these structures

       either directly or by exchange. In accordance with Article IV(B) of the CRCA and the

       Blue River Decree and Stipulation, the Applicant may store any imported Blue River

       water, whether released from Dillon Reservoir or diverted directly through the Roberts

       Tunnel at any existing or future storage facility on the East Slope; provided that the

       amount of imported Blue River Water in storage on the East Slope does not exceed

       400,000 acre feet at any point in time. This provision and limitation on the amount of

       imported Blue River water does not apply to the storage of return flows from the use or



                                          27
Case No. 1:49-cv-02782-MSK-CBS             Document 398-2          filed 12/09/16      USDC Colorado
                                            pg 28 of 46
                                             Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                 Findings of Fact, Conclusions of Law, Judgment and Decree




        reuse of imported Blue River water either directly or by exchange to any existing or

        future storage facility.

        32.     Need.    Based on the evidence considered by the court in connection with the

 following factors, the court finds that the Applicant continues to have a non-speculative need for

 the conditional portion of the Roberts Tunnel direct flow right that is the subject of this Decree.

                (a)     The Applicant performs regular water supply planning. The Applicant’s

        Integrated Resources Plan prepared in 2002 identifies that the Applicant has not

        developed enough water to serve the projected future growth of Applicant’s Service

        Area, depicted in Exhibit A. Further in 2006, the Applicant identified various events and

        developments that make the Applicant’s ability to meet projected future water demands

        and supply even more difficult. The Applicant reasonably anticipates that it will rely

        more and more upon this water right to fulfill the future needs of its customers.

                (b)     The Applicant has a Reasonable Water Supply Planning Period. The

        Applicant’s current water supply planning period extends to 2050. The court finds that

        this is a reasonable water supply planning period, particularly considering the size of the

        Applicant’s Service Area, both in population and geography, and the extent of the

        Applicant’s contractual commitments outside of its Service Area.

                (c)     The Applicant’s Substantiated Population/Rate of Growth Projections.

        The Applicant bases its demand projections on an econometric model that relies on

        numerous factors, including population growth within the Denver Metropolitan Area as

        predicted by the Denver Regional Council of Governments (“DRCOG”) in 2030, and the

        U.S. Census Bureau as projected in 2050. The court finds that Applicant reasonably


                                              28
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2           filed 12/09/16      USDC Colorado
                                         pg 29 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




       relied on the rate of population growth used by DRCOG and the U.S. Census Bureau.

       Population growth factor is one of several factors considered by the Applicant’s model.

       The Applicant relies on a model that interrelates water usage with demographics and

       various other socio-economic factors. This includes the rate of usage for single-family

       households in the future, so that total single-family usage can be determined by

       multiplying that usage rate by the future number of single-family households. The model

       uses a projected growth rate of 1.0 percent per year for the years 2005 through 2050, and

       a population of 1.74 million residents in 2050. In addition, the model projects

       employment in the service area to increase to a total of 1.25 million jobs by 2050,

       reflecting an average annual job growth rate of just under 0.9 percent from 2005 through

       2050. The court finds that the model assumes a water demand projection based on a

       reasonable rate of population and employment growth.

              (d)     Water Required to Meet the Applicant’s Reasonably Anticipated Needs.

       The Applicant demonstrated that the remaining amounts conditionally decreed for the

       direct flow right in the Roberts Tunnel are reasonably necessary to serve the reasonably

       anticipated needs of the Applicant for the planning period, above its current water supply.

                      i.     Implementation of Reasonable Water Conservation Measures

              During Planning Period. The Applicant has adopted an accelerated conservation

              plan intended to achieve by 2016 the 29,000 acre-feet of savings targeted in the

              1996 IRP for 2045. To achieve these goals, the Applicant has instituted a new

              customer information system that provides customers with access to monthly

              consumption information rather than the bi-monthly consumption data historically


                                           29
Case No. 1:49-cv-02782-MSK-CBS        Document 398-2          filed 12/09/16      USDC Colorado
                                       pg 30 of 46
                                        Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                            Findings of Fact, Conclusions of Law, Judgment and Decree




            provided by the Applicant to its customers. The Applicant offers rebates and

            incentives to encourage customers to convert to low water use appliances,

            plumbing fixtures, irrigation systems and more efficient landscapes.                The

            Applicant has developed an increasing block rate structure that encourages

            conservation through price signals, and allows for more effective demand

            management during peak summer irrigation use and severe droughts. In addition,

            the Applicant is engaged in educational outreach to provide customers with

            information to reduce their consumption through best-practices for irrigation and

            other water use. During the period 2002-2006, the Applicant spent approximately

            $16,600,000 on conservation programs. Since 2007, the Applicant has spent over

            $31,000,000 on these conservation activities.       Article II(B) and II(C) of the

            CRCA describe additional obligations regarding Denver’s water conservation

            efforts. The court finds that these conservation measures are reasonable.

                   ii.     Reasonably Expected Land Use Mixes during the Planning Period.

            The Applicant’s demand model considers three types of customers, which could

            be characterized as land use mixes. These uses include (1) single-family

            residences; (2) commercial, multi-family and industrial users; (3) and government

            and institutional users. The court finds that these are reasonable land use mixes to

            consider for the planning period.

                   iii.    Reasonably Attainable Per Capita Usage Projections for Indoor

            and Outdoor Use Based on the Land Use Mixes During the Planning Period. In

            year 2000, the Applicant’s system-wide metered water use was 220 gallons per


                                        30
Case No. 1:49-cv-02782-MSK-CBS         Document 398-2           filed 12/09/16      USDC Colorado
                                        pg 31 of 46
                                          Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                              Findings of Fact, Conclusions of Law, Judgment and Decree




              capita per day. The Applicant’s forecast projects that system-wide metered use

              will decline to 181 gallons per capita per day by 2050.             Along with other

              economic and demographic factors, this decline reflects the impact of natural

              replacement of older, less efficient fixtures. Traditionally, 60 percent of the

              Applicant’s use is for indoor purposes and 40 percent is for outdoor purposes.

              The Applicant’s projections represent the exercise of informed judgment.

                      iv.    Amount of Consumptive Use Reasonably Necessary to Serve the

              Increased Population. The court finds that the Applicant’s past and planned

              future demands account for a reasonable amount of consumptive use to serve its

              customers.

              (e)     The Applicant’s Current Water Supply. The Applicant’s projected future

       demands are in excess of the water supply currently available from its Municipal Water

       System. The Applicant generally uses its direct flow water rights first before using its

       reservoir storage to meet its water supply needs. During the period of 1998-2003, the

       Applicant’s storage declined to a point where the Applicant’s storage reserves were

       drawn down to less than its annual demand. The Blue River Diversion Project water

       rights are a key part in meeting future demand and as the population increases in the

       future or as hydrologic conditions change, Applicant will increase its draw on Dillon

       Reservoir storage right and Roberts Tunnel direct flow right to meet its future demands,

       subject to various regulatory requirements, the CRCA, and other contractual

       commitments.




                                          31
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2          filed 12/09/16      USDC Colorado
                                         pg 32 of 46
                                          Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                              Findings of Fact, Conclusions of Law, Judgment and Decree




              (f)    The Applicant’s Future Demand Projections. The Applicant presented an

       econometric demand model and projections of future water demands for the Applicant’s

       Service Area and Fixed Contractual Commitments.               The model, which projects

       unconstrained water demand, meaning water demand without emergency water

       restrictions, forecasts the Applicant’s water demands through 2050 by utilizing

       socioeconomic forecasts, historical data, and U.S. Census data. Specifically, the model

       relies on socioeconomic projections made by DRCOG, which projects future population

       as far as 2030, and then extends the socioeconomic forecasts through 2050 based on

       national projections from the U.S. Census Bureau and other sources, such as historic

       relationships between service area growth and national trends.            To determine, the

       Applicant’s 2050 demand, the DRCOG data is extended forward to 2050 using U.S.

       Census Bureau data and projections. In order to accurately forecast the Applicant’s

       demand, the model uses separate equations to measure (1) single family water use per

       household customers; (2) multi-family, commercial and industrial customers; and (3)

       institutional (governmental) customers. The data for these three types of customers is

       based on annual water use data collected by the Applicant and its distributors from 1973

       to 1999. The Applicant’s model projects that its 2050 treated water demand at the

       customers’ meters would be 370,000 acre feet, including a five percent calibration

       adjustment. To estimate the Applicant’s total system-wide demand water requirements a

       number of adjustments must be made. First, system losses and unaccounted for water

       use, which is estimated to average six percent, must be added (22,000 acre feet). Second,

       39,000 acre feet must be subtracted to account for improved efficiency of water using


                                          32
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2          filed 12/09/16      USDC Colorado
                                           pg 33 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




        fixtures. Third, 67,000 acre feet for Applicant’s Fixed Contractual Commitments must

        be added. Fourth, pursuant to the Applicant’s policy of maintaining a 30,000 acre foot

        safety factor, 30,000 acre feet was added. With these adjustments the Applicant’s total

        system-wide demand in 2050 is 450,000 acre feet. Applicant has analyzed these demand

        forecast results. Such analysis included evaluation of overall usage and demographic

        metrics of the forecast in comparison to historical statistics. The court concludes that the

        Applicant has engaged in a thoughtful planning process and has properly taken into

        account both its own experience and expertise, and analysis by outside experts.

                (g)      Safety Factor. The court finds that the Applicant’s current 30,000 acre

        foot safety factor (30,000 acre feet/year of a four year drought) is a reasonable and

        prudent amount of water to store in reserve in light of the large number of customers who

        rely on the Applicant’s system and the importance of the Applicant to the economic

        development of the State.


                             II.      CONCLUSIONS OF LAW

        Based upon and fully incorporating the Findings of Fact set forth above, this court

 concludes as a matter of law that:

        33.     Application was Timely. The Application for a Finding of Diligence and to Make

        Absolute was timely filed with the Water Clerk pursuant to C.R.S. §37-92-301(4) (2006).

        34.     Notice. The Applicant satisfied all requirements for notice under C.R.S. §37-92-

        302(3) (2006).




                                            33
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2           filed 12/09/16      USDC Colorado
                                         pg 34 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




       35.    Perfection of Water Rights.       The court concludes and determines that the

       Applicant perfected 654 c.f.s. of the Roberts Tunnel direct flow right by lawfully: (1)

       capturing, possessing, and controlling water; and (2) applying the water to a beneficial

       use. City of Lafayette v. New Anderson Ditch Co., 962 P.2d 955, 961-962 (Colo.1998)

       (citing City & County of Denver v. Northern Colo. Water Conservancy Dist., 276 P.2d

       992, 998-99 (Colo. 1954)). The Applicant has petitioned the court to declare the right

       absolute in the amount of 654 c.f.s. for purposes of fixing the appropriator's place in the

       priority system in relation to all other appropriators in a manner consistent with the 1969

       Act. New Anderson Ditch Co., 962 P.2d 962; C.R.S. § 37-92-306.

       36.    Points of Diversion.

              (a)     Only those diversions at the decreed point of diversion or at decreed

       alternate points of diversion may be utilized to make absolute a decreed conditional water

       right. Broyles v. Fort Lyon Canal Co., 638 P.2d 244, 251 (Colo. 1981).

              (b)     As it has continuously since inundation in 1964, the Applicant diverted the

       Roberts Tunnel direct flow right by means of the West Portal, which the court determines

       is an acceptable point of diversion under the decrees entered in C.A. 1805 and 1806, and

       in Consolidated Case Nos. 2782, 5016 and 5017.

              (c)     The Decrees entered in C.A. 1805 and 1806 found and decreed that the

       Blue River Diversion Project would divert through a system of intakes, feeder ditches and

       canals located at three distinct points of diversion on the Snake, Blue, and Ten Mile

       Rivers. Judgment and Decree, C.A. 1805/1806 at p.2 ¶6(a)-(c); p. 5 ¶1(a)-(c) (Summit

       County Mar. 10, 1952). The Summit County District Court decrees also decreed that the


                                           34
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2          filed 12/09/16      USDC Colorado
                                         pg 35 of 46
                                          Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                              Findings of Fact, Conclusions of Law, Judgment and Decree




       Applicant would construct Dillon Reservoir, in an area defined under the decrees, which

       would inundate the three points of diversion. Judgment and Decree, C.A. 1805/1806 at p.

       4 ¶7(a); p. 6 ¶1(d) (Summit County Mar. 10, 1952). Further, the Summit County District

       Court decree in C.A. 1806 includes a finding that “[i]n its final form, the [Blue River

       Diversion] Project will provide the means of diverting water at the points of diversion

       hereinabove mentioned at the maximum rate of 788 cubic feet per second of time,

       transmitting the same to the North Fork of the South Platte River through a tunnel

       approximately twenty-three miles in length known as the Montezuma Tunnel, which has

       a maximum carrying capacity of 788 cubic feet of water per second of time and the West

       Portal of which is located at a point whence the East quarter corner of Section 18,

       Township 5 South, Range 77 West of the 6th Principal Meridian bears South 81º 07’

       East, 941.6 feet.” Judgment and Decree, CA 1806 at p. 2, ¶4 (Mar. 10, 1952). As

       determined in City and County of Denver v. Northern Colorado Water Conservancy

       Dist., 276 P.2d 992, 1003 (Colo. 1955), the June 24, 1946 priority date for the Blue River

       Diversion Project was fixed based on the selection of a project involving “a large

       reservoir at Dillon near the confluence of the Blue with the Ten Mile and the Snake, and

       with a new single point of diversion in the reservoir which captured waters more than a

       mile below the former proposed points of diversion.”           In addition, this court has

       historically recognized the West Portal of the Roberts Tunnel as the primary point of

       diversion for the Roberts Tunnel direct flow right in the Final Decree entered by this

       court on October 12, 1955 and in subsequent diligence proceedings. Final Decree and

       Stipulation, CA 2782, 5016 and 5017 at ¶19 (D. Colo. Oct. 12, 1955); Finding and Order


                                          35
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 36 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




       Concerning Due Diligence of the City and County of Denver at 2 (D. Colo. Apr. 6,

       1964); Decree and Determination, CA 2782, 5016 and 5017 (Case No. W-741-77) at 2 ¶

       4 (D. Colo. Sept. 15, 1978).

               (d)     Because the Summit County District Court decrees award the Applicant a

       June 24, 1946 priority date based on the use of a single point of diversion at the Roberts

       Tunnel, and because this court’s decree entered in 1955 and in later diligence matters

       referred to the Roberts (Montezuma) Tunnel as the point of diversion for the direct flow

       right, the court concludes that Applicant’s diversion under a 1946 priority can legally be

       made at the point of diversion described as the West Portal of the Roberts Tunnel. Based

       on the court’s findings in this regard, the court concludes that the West Portal of the

       Roberts Tunnel was intended to become the primary point of diversion for the Blue River

       Diversion Project upon the construction of Dillon Reservoir and is therefore the

       appropriate point of diversion for the Blue River Diversion Project.

               (e)     All previous findings of amounts made absolute also affirm the West

       Portal of the Roberts Tunnel as the point of diversion for the direct flow right. Under

       Taussig v. Moffat Tunnel Water & Development Company, 106 P.2d 363 (Colo. 1940),

       the precise location of the point of diversion of a conditional water right is not essential

       until the water is placed to beneficial use. When the conditional water right is made

       absolute then the decree must take on the elements of definiteness and certainty.

               (f)     Based on the foregoing, the court concludes and determines that the

       Applicant diverted the 654 cfs at the decreed point of diversion for the Roberts Tunnel

       direct flow right.


                                           36
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2           filed 12/09/16      USDC Colorado
                                          pg 37 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




       37.     Place of Use.

               (a)    Municipal appropriations are made to serve a growing population. City

       and County of Denver v. Sheriff, 96 P.2d 836, 841 (Colo.1939) (stating that a specified

       tract of land does not increase in size, but populations do, and in short periods of time).

               (b)    Unlike agricultural water rights, which are appropriated for a fixed area of

       land, In re Water Rights of Central Colorado Water Conservancy Dist., 147 P.3d 9, 14

       (Colo. 2006), municipal water rights must serve a growing population, which can expand

       and increase in size. Sheriff, 96 P.2d at 841.

               (c)    The geographic area where the Applicant serves and provides water,

       including water diverted on June 23, 2006, is the area within and adjacent to the City and

       County of Denver, and is within Denver Metropolitan Area, that being the area

       reasonably integrated with the development of the City and County of Denver (as defined

       by the Blue River Decree), subject to the limitations of Article I and Article II of the

       CRCA.

               (d)    Because Applicant diverts water from the West Slope to the East Slope it

       has voluntarily agreed through the West Slope Agreements to supply water for beneficial

       use by water users in Summit County to help address the impacts of its diversions on the

       West Slope. The court therefore finds that the amounts and uses of water deliveries from

       the Blue River Diversion Project made available voluntarily by the Applicant under the

       West Slope Agreements effectuate the objectives of the Blue River Decree and

       Stipulation and, under these unique circumstances, are lawful municipal uses of such

       water under the Blue River Decree and Stipulation. The water provided by Applicant


                                            37
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2          filed 12/09/16      USDC Colorado
                                         pg 38 of 46
                                          Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                              Findings of Fact, Conclusions of Law, Judgment and Decree




       under the West Slope Agreements is fully consumable water from the Blue River and its

       tributaries that may be used by West Slope water users on the West Slope pursuant to

       those Agreements for municipal, domestic, irrigation, industrial, recreation, piscatorial,

       snowmaking, wastewater treatment, augmentation, and exchange uses, including reuse

       and successive use to extinction in Summit County; provided that prior to the reuse or

       successive use of such water, the plan for such reuse and/or successive use shall be

       incorporated into an approved water court decree or substitute supply plan. No additional

       amount of water from the Blue River Diversion Project under the decrees entered in CA

       1805 and 1806 and Consolidated Case Nos. 2782, 5016 and 5017 shall be used for these

       West Slope purposes.     This decree shall not be considered precedent or persuasive

       authority with regard to any other water right or any other matter unrelated either to the

       operation of the Blue River Diversion Project water rights as contemplated under this

       decree or enforcement of this decree.

              (e)     The Applicant’s plans to provide water derived from Colorado River

       return flows to entities located outside the Applicant’s Service Area, but within the six

       counties listed in paragraph 23 of this decree in accordance with Article I and Article II

       of the CRCA are lawful and effectuate the objectives of the Blue River Stipulation and

       Decree.

       38.    Diligence. The measure of reasonable diligence is the steady application of effort

       to complete the appropriation in a reasonably expedient and efficient manner under all

       the facts and circumstances. When a project or integrated system is comprised of several

       features, work on one feature of the project or system shall be considered in finding that


                                          38
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 39 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




       reasonable diligence has been shown in the development of water rights for all features of

       the entire project or system. C.R.S. § 37-92-301(4)(b) (2010).

              (a)     A water court makes a case-by-case consideration of several factors to

       determine whether the applicant has made the required effort. See City of Lafayette v.

       New Anderson Ditch Co., 962 P.2d 955, 961 (Colo.1998) (citing Dallas Creek v. Huey,

       933 P.2d 27, 36 (Colo.1997)).

              (b)     These factors include but are not limited to: (1) economic feasibility; (2)

       the status of requisite permit applications and other required governmental approvals; (3)

       expenditures made to develop the appropriation; (4) the ongoing conduct of engineering

       and environmental studies; (5) the design and construction of facilities; and (6) the

       nature and extent of land holdings and contracts demonstrating the water demand and

       beneficial uses which the conditional right is to serve when perfected. Dallas Creek, 933

       P.2d at 36.

              (c)     All acts necessary to complete the appropriation need not be accomplished

       in the same diligence period.     What must be demonstrated is continued intent and

       progress toward finalizing the conditionally decreed appropriation. The existence of a

       plan, capability, and need for the water is examined periodically by the water court, at the

       close of each diligence period, to determine whether the applicant is entitled to retain the

       antedated priority. Monitoring of use and need for the conditional appropriation is a

       proper role of the water court in a diligence proceeding. Dallas Creek, 933 P.2d at 36.




                                           39
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 40 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




              (d)     Based on the foregoing diligence activities, the court determines that the

       Applicant has demonstrated reasonable diligence in the development of the conditional

       portion of the Roberts Tunnel direct flow right.

       39.    Economic Conditions and Governmental Permits. Applicant has obtained all

       necessary governmental permits to construct facilities necessary to date to divert the

       Roberts Tunnel direct flow right and put water diverted under the right to beneficial use.

       Neither current economic conditions beyond the control of the applicant which adversely

       affect the feasibility of perfecting a conditional water right or the proposed use of water

       from a conditional water right nor the fact that one or more governmental permits or

       approvals have not been obtained shall be considered sufficient to deny a diligence

       application, so long as other facts and circumstances which show diligence are present.

       C.R.S. § 37-92-301(4)(c).

       40.    Can and Will.

              (a)     To show reasonable diligence in the development of a conditional right, an

       applicant must demonstrate that the waters “can and will” be stored and beneficially used

       and that the project “can and will” be completed with diligence and within a reasonable

       time. See C.R.S. § 37-92-305(9)(b). Municipal Subdistrict, Northern Colorado Water

       Conservancy District v. OXY, Inc. 990 P.2d 701 (Colo. 1999).

              (b)     C.R.S. §37-92-305(9)(b) (2010) provides: “No claim for a conditional

       water right may be recognized or a decree therefore granted except to the extent that it is

       established that the water can be and will be diverted, stored, or otherwise captured,




                                           40
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2          filed 12/09/16      USDC Colorado
                                          pg 41 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




       possessed, and controlled and will be beneficially used and that the project can and will

       be completed with diligence and within a reasonable time.”

              (c)     The Can and Will doctrine requires that a conditional water right applicant

       show a “substantial probability that within a reasonable time the facilities necessary to

       affect the appropriation can and will be completed with diligence, and that as a result

       water will be applied to a beneficial use.” Board of County Comm'rs of County of

       Arapahoe v. United States, 891 P.2d 952, 961 (Colo.1995). Proof of such a substantial

       probability necessarily involves imperfect predictions of future events and conditions.

       City of Black Hawk v. City of Central, 97 P.3d 951 (Colo. 2004).

              (d)     The can and will requirement should not be applied rigidly to prevent

       beneficial uses where an applicant otherwise satisfies the legal standard of establishing a

       non-speculative intent to appropriate for a beneficial use. City of Black Hawk v. City of

       Central, 97 P.3d 951, 957 (Colo. 2004). Further, the existence of contingencies does not

       prevent the can and will test from being satisfied. Id.; City of Thornton v. Bijou Irr. Co.,

       926 P.2d 1, 43-45 (Colo. 1996).

              (e)     The Applicant has demonstrated satisfaction of C.R.S. §37-92-305(9)

       (2010) based on its showing that water remains available to be developed, physically and

       legally, under the conditional portion of the Roberts Tunnel direct flow right. The court

       further determines that the North Fork of the South Platte River is currently capable of

       conveying the full amount of the Roberts Tunnel direct flow right, and that the Applicant

       is capable of enlarging facilities necessary to divert the full amount of the Roberts Tunnel

       direct flow right, including the Roberts Tunnel valves and the Foothills Treatment Plant.


                                           41
Case No. 1:49-cv-02782-MSK-CBS          Document 398-2           filed 12/09/16      USDC Colorado
                                         pg 42 of 46
                                           Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                               Findings of Fact, Conclusions of Law, Judgment and Decree




       In addition, there is no evidence that the Applicant is not capable of continuing to meet

       its obligations under the Blue River Decree, including payment of power interference.

       41.    Anti-Speculation.

              (a)      An appropriator must have a legally vested interest in the lands or

       facilities to be served “unless such appropriator is a governmental agency or an agent in

       fact for the persons proposed to be benefited by such appropriation.” C.R.S. § 37-92-

       103(3)(a)(I) (2010).

              (b)      Because a conditional right may become speculative over time, the anti-

       speculation doctrine continues to apply in later diligence proceedings.              Municipal

       Subdistrict, Northern Colorado Water Conservancy District v. OXY, Inc. 990 P.2d 701

       (Colo. 1999).

              (c)      The test for determining need with regard to a municipality was stated in

       Pagosa Area Water & Sanitation District v. Trout Unlimited, 170 P.3d 307, 309-310, 312

       (Colo. 2007): A governmental agency must demonstrate that its intent to make a non-

       speculative conditional appropriation of unappropriated water is based on (1) a

       reasonable water supply planning period; (2) that its substantiated population projections

       are based on a normal rate of growth for that period; and (3) the amount of available

       unappropriated water is reasonably necessary to serve the reasonably anticipated needs of

       the governmental agency for the planning period, above its current water supply.

              (d)      The Applicant is a governmental entity and has satisfied the anti-

       speculation test. The Applicant is a municipal corporation and a political subdivision of

       the state, under the control of a Board appointed by the Mayor of Denver. Charter of the


                                           42
Case No. 1:49-cv-02782-MSK-CBS           Document 398-2           filed 12/09/16      USDC Colorado
                                          pg 43 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




       City and County of Denver, Article X. Bennett Bear Creek Farm Water and Sanitation

       District v. Denver Board of Water Commissioners, 928 P.2d 1254, 1265, 1273 (Colo.

       1996). As such, it is governed by the Denver Charter and other laws applicable to

       governmental entities. As dictated by the Denver Charter, all revenues received by the

       Board are placed in the Water Works Fund. The Board must “deposit all receipts into a

       bank account. . . . Monies shall be paid out of the account only upon the authority of the

       Board.” Denver Charter, § 10.1.7. Article XX of the Colorado Constitution grants the

       City and County of Denver home rule power to legislate on local and municipal matters

       and to operate water works “within or without its territorial limits.” Colo. Const. Art. XX,

       §§ 1 and 6. The Denver Charter grants the Board “all the powers of the City and County

       of Denver including those granted by the Constitution and by the law of the State of

       Colorado and by the Charter[.]” Exhibit 3, Denver Charter, § 10.1.5. Specifically, the

       Charter gives the Applicant “complete charge and control of a water works system and

       plant for supplying the City and County of Denver and its inhabitants with water for all

       uses and purposes.” .Id., § 10.1.1. The Applicant, when providing contractually based

       water service, has been determined by the Supreme Court to be “a governmental entity

       acting pursuant to a legislative grant of authority.” Bennett Bear Creek, 928 P.2d at 1274

       n. 17, citing Board of County Comm’rs of Arapahoe County v. Denver Board of Water

       Comm’rs, 718 P.2d 235, 245 (Colo. 1986). The court determines that because of the

       Applicant’s status as a governmental entity, it is entitled to the anti-speculation exception

       afforded to governmental entities. C.R.S. § 37-92-103(3)(a)(I) (2010).




                                            43
Case No. 1:49-cv-02782-MSK-CBS             Document 398-2         filed 12/09/16      USDC Colorado
                                            pg 44 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




              (e)     The Applicant does not have speculative intent with regard to the Roberts

       Tunnel direct flow right. Applicant is a governmental agency which will serve persons

       proposed to be benefited by the Roberts Tunnel direct flow right, and therefore does not

       need to demonstrate a legally vested interest in the lands or facilities to be served. C.R.S.

       § 37-92-103(3)(a)(I) (2010). Applicant also demonstrated its intent to make a non-

       speculative conditional appropriation of unappropriated water based on (1) a reasonable

       water supply planning period; (2) that its substantiated population projections are based

       on a normal rate of growth for that period; and (3) the amount of available

       unappropriated water is reasonably necessary to serve the reasonably anticipated needs of

       the governmental agency for the planning period, above its current water supply.          C.R.S.

       § 37-92-103(3)(a) (2010). Pagosa Area Water and Sanitation Dist. v. Trout Unlimited,

       219 P.3d 774, 780 (Colo. 2009); Pagosa Area Water & Sanitation District v. Trout

       Unlimited, 170 P.3d 307, 309-310, 312 (Colo. 2007). The court determines that the

       Applicant has a specific plan and intent to divert, store, or otherwise capture, possesses,

       and control the full amount of 788 cfs under the Roberts Tunnel direct flow right for

       specific decreed beneficial uses.

                          III.   JUDGMENT AND DECREE

       42.    The foregoing Findings of Fact and Conclusions of Law are incorporated herein.

       43.    The Applicant has been reasonably diligent in the development of the conditional

       water rights for the Blue River Diversion Project described above for the diligence period

       December 14, 2000 to December 26, 2006 and the conditionally decreed water right and




                                            44
Case No. 1:49-cv-02782-MSK-CBS            Document 398-2            filed 12/09/16    USDC Colorado
                                           pg 45 of 46
                                            Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                                Findings of Fact, Conclusions of Law, Judgment and Decree




        priorities are hereby continued in full force and effect and no order or decree is direct or

        entered for the cancellation of them in whole or in part.

        44.    The Applicant lawfully diverted 654 cfs of the Roberts Tunnel direct flow right in

        compliance with the Judgments and Decrees entered in CA 1805 and 1806 and

        Consolidated Case Nos. 2782, 5016 and 5017, and under the Water Right and

        Administration Act of 1969, and put the water to beneficial use by customers in areas in

        and adjacent to the City and County of Denver and reasonably integrated with the

        development of the City and County of Denver. Further, Applicant’s voluntary provision

        of water from the Blue River Diversion Project for use in Summit County under the West

        Slope Agreements is lawful and effectuates the objectives of the Final Decree and

        Stipulation in Civil Case Nos. 2782, 5016 and 5017. The amount remaining conditional

        under the Roberts Tunnel direct flow right is 134 cfs.

        45.    Pursuant to C.R.S. § 37-92-301(4), the Applicant shall file an Application for

        Finding of Reasonable Diligence on or before the last day of ________________ 201_,

        so long as the Applicant desires to maintain these conditionally decreed water rights, or

        until a determination has been made that these conditionally decreed water rights have

        become absolute water rights by reason of the completion of the appropriation.

        DATED this ___ day of _________.


 BY THE COURT:



 _______________________
 Marcia S. Krieger
 United States District Judge

                                             45
Case No. 1:49-cv-02782-MSK-CBS   Document 398-2         filed 12/09/16      USDC Colorado
                                  pg 46 of 46
                                  Case Nos. 2782, 5016 and 5017/06CW255 Water Division No. 5
                                      Findings of Fact, Conclusions of Law, Judgment and Decree




                                  46
